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                               CERTIFICATE OF SERVICE
 Case Name:     Gary Sanchez v. Rob Bonta                 No.    24-cv-767-RSH-MSB

 I hereby certify that on June 24, 2024, I electronically filed the following documents with the
 Clerk of the Court by using the CM/ECF system:

  NOTICE OF MOTION AND MOTION TO DISMISS
  DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN
  SUPPORT OF MOTION TO DISMISS
  ORDER GRANTING DEFENDANT’S MOTION TO DISMISS
 Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.
 I declare under penalty of perjury under the laws of the State of California and the United States
 of America the foregoing is true and correct and that this declaration was executed on June 24,
 2024, at Sacramento, California.

             Kevin Quade                                         /s/ Kevin L. Quade
          Declarant for eFiling                                       Signature

 I am employed in the Office of the Attorney General, which is the office of a member of the
 California State Bar at which member's direction this service is made. I am 18 years of age or
 older and not a party to this matter. I am familiar with the business practice at the Office of the
 Attorney General for collection and processing of correspondence for mailing with the United
 States Postal Service. In accordance with that practice, correspondence placed in the internal
 mail collection system at the Office of the Attorney General is deposited with the United States
 Postal Service with postage thereon fully prepaid that same day in the ordinary course of
 business.
 I further certify that some of the participants in the case are not registered CM/ECF users. On
 June 24, 2024, the foregoing document(s) have been mailed in the Office of the Attorney
 General's internal mail system, by First-Class Mail, postage prepaid, or have dispatched it to a
 third party commercial carrier for delivery within three (3) calendar days to the following non-
 CM/ECF participants:
 Gary R. Sanchez
 5941 Rio Valle Drive
 Bonsall, CA 92003
 In Pro Per

 I declare under penalty of perjury under the laws of the State of California and the United States
 of America the foregoing is true and correct and that this declaration was executed on June 24,
 2024, at Sacramento, California.
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                 C. Irby                                   /s/ C. Irby
   Declarant for Service by U.S. Mail                      Signature
